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                                             No. 19-755
                                     Filed: September 20, 2019

                                               )
 CHRISTOPHER R. GRANTON,                       )
                                               )
                        Plaintiff,             )
                                               )
            V.                                 )
                                               )
 THE UNITED STATES,                            )
                                               )
                        Defendant.             )
_____________                                  )

                                     OPINION AND ORDER

SMITH, Senior Judge

         On May 16, 2019, plaintiff, proceeding prose, filed his Complaint with this Comi. See
generally Complaint. Plaintiff then filed his Amended Compliant seeking $102,000,000 in
damages on June 26, 2019. See generally Amended Complaint (hereinafter "Am. Comp!.").
Plaintiff claims that the Washington State Lottery Commission ("WSLC") refused to print his
lottery ticket due to a break in drawing. Am. Comp!. at 5. Plaintiff alleges that the break in
drawing was premature and he picked the winning numbers that were announced later that night.
Id. As such, plaintiff claims that the WSLC breached an implied contract when it failed to print
him a ticket and award him the prize. Id. Upon review, the Comi finds that plaintiff's
allegations do not give rise to any cause of action over which this Court has subject-matter
jurisdiction. The Comi has no authority to decide plaintiff's case, and therefore must grant the
government's Motion to Dismiss pursuant to Rule 12(b)(l) of the Rules of the Comi of Federal
Claims ("RCFC").

        "This [C]ourt does not have jurisdiction over any claims alleged against states, localities,
state and local government entities, or state and local government officials and employees;
jurisdiction only extends to suits against the United States." Trevino v. United States, 113 Fed.
Cl. 204, 208 (citing United States v. Sherwood, 312 U.S. 584, 588 (1941) ("[I]ts jurisdiction is
confined to the rendition of money judgments in suits brought for that relief against the United
States, ... and if the relief sought is against others than the United States, the suit as to them
must be ignored as beyond the jurisdiction of the comi.")). Throughout his Complaint, plaintiff
refers to actions taken by the WSLC, which is an agency of the State of Washington, not the
United States. See generally Am. Comp!. As such, plaintiff's breach of contract claim is
dismissed because he does not allege that the United States is a party to the contract, nor does he
allege that the United States was involved in any capacity.
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        Fmthermore, plaintiff claims that the State of Washington's regulation violates the Due
Process Clauses of the Fifth and Fourteenth Amendments. This Court does not have jurisdiction
over claims under the Due Process Clauses because they "do not mandate payment of money by
the government." LeBlanc v. UnUed States, 50 F.3d 1025, 1028 (Fed. Cir. 2005). Accordingly,
plaintiff's claims under the Due Process Clauses of the Fifth and Fomteenth Amendments must
also be dismissed for lack of subject-matter jurisdiction.

        After filing his original Complaint with the Comt, plaintiff filed an untimely request to
amend his Complaint on August 20, 2019. See generally Am. Compl. Additionally, plaintiff
filed his "Motion for Court to Appoint Council [sic]" on September 9, 2019. See generally
Motion for Comt to Appoint Council [sic]. On July 15, 2019, the government filed a motion to
dismiss, requesting that the Court dismiss the complaint pursuant to RCFC 12(b)( 1) for lack of
subject-matter jurisdiction and, alternatively, RCFC 12(b)(6) for failure to state a claim.
Defendant's Motion to Dismiss at 1.

        For the reasons set forth above, the government' s Motion to Dismiss is hereby
GRANTED pursuant to RCFC 12(b)(1) for lack of subject-matter jurisdiction. As the Comt has
no jurisdiction over plaintiffs claim, it has no choice but to DENY as moot plaintiff's Request
to Amend Complaint and plaintiff's Motion for Court to Appoint Council [sic]. The Clerk is
hereby directed to enter judgment consistent with this opinion.

       IT IS SO ORDERED.

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                                                             Loren A. Smith, Senior Judge




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